       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Quindell Montrae Kirby
        v. Commonwealth of Virginia
        Record No. 2307-12-2
        Opinion rendered by Judge Kelsey on
        September 2, 2014

    2. Michael Alonzo Robinson, Jr.
        v. Commonwealth of Virginia
        Record No. 0097-13-2
        Opinion rendered by Judge Alston on
        September 16, 2014
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Justin Sarafin
    v. Commonwealth of Virginia
   Record No. 1753-12-2
    Opinion rendered by Judge Huff
     on October 8, 2013
    Judgment of Court of Appeals affirmed by opinion rendered on October 31, 2014
    (131747)

2. Levin Grimes
   v. Commonwealth of Virginia
   Record No. 0293-13-1
   Opinion rendered by Judge McCullough
     on October 29, 2013
    Judgment of Court of Appeals affirmed by opinion rendered on October 31,2014
    (131847)

3. Tracy Wayne Claytor
   v. Commonwealth of Virginia
   Record No. 0309-13-3
   Opinion rendered by Judge Petty
     on December 17, 2013
   Refused (140126)

4. Marvin T. Rideout, III
   v. Commonwealth of Virginia
   Record No. 0513-13-2
   Opinion rendered by Judge Beales
    on February 4, 2014
   Refused (140377)

5. Raymond Charles Case
   v. Commonwealth of Virginia
   Record No. 2188-12-4
   Opinion rendered by Judge Alston
    February 11, 2014
   Refused (140404)

6. William Lloyd Henry
   v. Commonwealth of Virginia
   Record No. 0631-13-2
   Opinion rendered by Judge Petty
    February 18, 2014
   Refused (140437)
7. Alexander J. Dennos, Jr.
   v. Commonwealth of Virginia
   Record No. 0635-13-1
   Opinion rendered by Judge Kelsey
    March 11, 2014
   Refused (140577)

8. 1st Stop Health Services, Inc., d/b/a 1st Stop Home Care
    v. Department of Medical Assistance Services, Cynthia B. Jones, Director
    Record No. 1418-13-4
    Opinion rendered by Judge McCullough
     on April 8, 2014
    Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(2) and (B) (140759)

9. Larod Nayquan Robinson
    v. Commonwealth of Virginia
    Record No. 0207-13-1
    Opinion rendered by Judge Alston
     on April 29, 2014
   Dismissed no petition filed.

10. Yvonie Décor Charles
   v. Commonwealth of Virginia
   Record No. 0790-13-1
   Opinion rendered by Judge Humphreys
     on April 29, 2014
    Refused (140853)

11. Joseph Altiro Turner
    v. Commonwealth of Virginia
    Record No. 0352-13-1
    Opinion rendered by Judge Huff on
     on May 20, 2014
   Dismissed no petition filed.

12. George E. Boone, a/k/a George Edward Boone, Jr.
   v. Commonwealth of Virginia
   Record No. 1510-13-2
   Opinion rendered by Judge Humphreys
     on May 20, 2014
    Refused (140946)
      On October 31, 2014 the Supreme Court issued opinions in the following cases, which
had been appealed from this Court:

  1. Derrell Renard Brown
     v. Commonwealth of Virginia
     Record No. 1777-12-2
     CAV petition for appeal denied by Judge McCullough on June 5, 2013
     Judgment of Court of Appeals affirmed
     (131038)

  2. Maureen Anne Blake
     v. Commonwealth of Virginia
     Record No. 1751-12-4
     Memorandum opinion rendered by Judge Frank on November 19, 2013
     Judgment of Court of Appeals reversed and final judgment entered
      vacating appellant’s convictions
     (140081)

  3. Samir Allen Farhoumand
      v. Commonwealth of Virginia
      Record No. 2087-12-4
      Memorandum opinion rendered by Judge Frank on December 3, 2013
      Judgment of Court of Appeals affirmed in part and reversed and final
       judgment entered in part
      (140012)

  4. Charles Hawkins, s/k/a, etc.
     v. Commonwealth ofVirginia
     Record No. 1091-13-1
     CAV petition for appeal denied by Judge Kelsey on December 30, 2013 and by
      Judges Alston, Decker and Senior Judge Coleman on April 14, 2014
     Judgment of Court of Appeals affirmed
     (131822)
